               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 1 of 11




 1
                                                                             Honorable Barbara J. Rothstein
 2

 3

 4

 5

 6

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 9
      LISA DOYLE, and individual,
10
                                                Plaintiff,    NO. 2:21-cv-00664
11
              v.
                                                              [REVISED] MODEL STIPULATED
12
      SENSIO, INC. d/b/a BELLA, a foreign                     PROTECTIVE ORDER
13    corporation,

14                                           Defendant.

15

16   1.      PURPOSES AND LIMITATIONS

17           Discovery in this action is likely to involve production of confidential, proprietary, or private

18   information for which special protection may be warranted. Accordingly, the parties hereby

19   stipulate to and petition the court to enter the following Stipulated Protective Order. The parties

20   acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket

21   protection on all disclosures or responses to discovery, the protection it affords from public

22   disclosure and use extends only to the limited information or items that are entitled to confidential

23   treatment under the applicable legal principles, and it does not presumptively entitle parties to file

24   confidential information under seal.

     ///
25


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 1                                                              901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by             SEATTLE, WASHINGTON 98164-2026
      parties                                                   TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 2 of 11




 1
     2.      “CONFIDENTIAL” MATERIAL
 2
             “Confidential” material shall include the following documents and tangible things produced
 3
     or otherwise exchanged:
 4
                   •   Engineering, design, and product specification information;
 5
                   •   Product and quality control testing protocol, results, and similar information;
 6
                   •   Reports of accidents/incidents other than the incident giving rise to this lawsuit;
 7                 •   Contracts with non-parties and non-parties’ confidential information;
 8                 •   Financial records and information held confidential by the producing parties.
 9   3.      SCOPE
10           The protections conferred by this agreement cover not only confidential material (as
11   defined above), but also (1) any information copied or extracted from confidential material; (2) all
12   copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
13   conversations, or presentations by parties or their counsel that might reveal confidential material.
14           However, the protections conferred by this agreement do not cover information that is in
15   the public domain or becomes part of the public domain through trial or otherwise.
16   4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
17           4.1       Basic Principles. A receiving party may use confidential material that is disclosed
18   or produced by another party or by a non-party in connection with this case only for prosecuting,
19   defending, or attempting to settle this litigation. Confidential material may be disclosed only to the
20   categories of persons and under the conditions described in this agreement. Confidential material

21   must be stored and maintained by a receiving party at a location and in a secure manner that

22   ensures that access is limited to the persons authorized under this agreement.

23           4.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

24   the court or permitted in writing by the designating party, a receiving party may disclose any

25   confidential material only to:


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 2                                                              901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by             SEATTLE, WASHINGTON 98164-2026
      parties                                                   TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 3 of 11




 1
                      (a)     the receiving party’s counsel of record in this action, as well as employees
 2
     of counsel to whom it is reasonably necessary to disclose the information for this litigation;
 3
                      (b)     the officers, directors, and employees (including in house counsel) of the
 4
     receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
 5
     agree that a particular document or material produced is for Attorney’s Eyes Only and is so
 6
     designated;
 7                    (c)     experts and consultants to whom disclosure is reasonably necessary for
 8   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
 9   A);
10                    (d)     the court, court personnel, and court reporters and their staff;
11                    (e)     copy or imaging services retained by counsel to assist in the duplication of
12   confidential material, provided that counsel for the party retaining the copy or imaging service
13   instructs the service not to disclose any confidential material to third parties and to immediately
14   return all originals and copies of any confidential material;
15                    (f)     during their depositions, witnesses in the action to whom disclosure is
16   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
17   (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
18   transcribed deposition testimony or exhibits to depositions that reveal confidential material must
19   be separately bound by the court reporter and may not be disclosed to anyone except as permitted
20   under this agreement;

21                    (g)     the author or recipient of a document containing the information or a

22   custodian or other person who otherwise possessed or knew the information.

23   ///

24           4.3      Filing Confidential Material. Before filing confidential material or discussing or

25   referencing such material in court filings, the filing party shall confer with the designating party, in


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 3                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 4 of 11




 1
     accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will
 2
     remove the confidential designation, whether the document can be redacted, or whether a motion
 3
     to seal or stipulation and proposed order is warranted. During the meet and confer process, the
 4
     designating party must identify the basis for sealing the specific confidential information at issue,
 5
     and the filing party shall include this basis in its motion to seal, along with any objection to sealing
 6
     the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and
 7   the standards that will be applied when a party seeks permission from the court to file material
 8   under seal. A party who seeks to maintain the confidentiality of its information must satisfy the
 9   requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.
10   Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with
11   the strong presumption of public access to the Court’s files.
12   5.      DESIGNATING PROTECTED MATERIAL
13           5.1      Exercise of Restraint and Care in Designating Material for Protection. Each party
14   or non-party that designates information or items for protection under this agreement must take
15   care to limit any such designation to specific material that qualifies under the appropriate
16   standards. The designating party must designate for protection only those parts of material,
17   documents, items, or oral or written communications that qualify, so that other portions of the
18   material, documents, items, or communications for which protection is not warranted are not
19   swept unjustifiably within the ambit of this agreement.
20           Mass, indiscriminate, or routinized designations are prohibited. Designations that are

21   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

22   unnecessarily encumber or delay the case development process or to impose unnecessary

23   expenses and burdens on other parties) expose the designating party to sanctions.

24           If it comes to a designating party’s attention that information or items that it designated for

25   protection do not qualify for protection, the designating party must promptly notify all other parties


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 4                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 5 of 11




 1
     that it is withdrawing the mistaken designation.
 2
             5.2      Manner and Timing of Designations. Except as otherwise provided in this
 3
     agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
 4
     ordered, disclosure or discovery material that qualifies for protection under this agreement must
 5
     be clearly so designated before or when the material is disclosed or produced.
 6
                      (a)     Information in documentary form: (e.g., paper or electronic documents and
 7   deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),
 8   the designating party must affix the word “CONFIDENTIAL” to each page that contains
 9   confidential material. If only a portion or portions of the material on a page qualifies for protection,
10   the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate
11   markings in the margins).
12                    (b)     Testimony given in deposition or in other pretrial proceedings: the parties
13   and any participating non-parties must identify on the record, during the deposition or other pretrial
14   proceeding, all protected testimony, without prejudice to their right to so designate other testimony
15   after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the
16   transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or
17   exhibits thereto, as confidential. If a party or non-party desires to protect confidential information
18   at trial, the issue should be addressed during the pre-trial conference.
19                    (c)     Other tangible items: the producing party must affix in a prominent place
20   on the exterior of the container or containers in which the information or item is stored the word

21   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection, the

22   producing party, to the extent practicable, shall identify the protected portion(s).

23   ///

24           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

25   designate qualified information or items does not, standing alone, waive the designating party’s


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 5                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 6 of 11




 1
     right to secure protection under this agreement for such material. Upon timely correction of a
 2
     designation, the receiving party must make reasonable efforts to ensure that the material is
 3
     treated in accordance with the provisions of this agreement.
 4
     6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 5
             6.1      Timing of Challenges. Any party or non-party may challenge a designation of
 6
     confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
 7   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
 8   burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
 9   challenge a confidentiality designation by electing not to mount a challenge promptly after the
10   original designation is disclosed.
11           6.2      Meet and Confer. The parties must make every attempt to resolve any dispute
12   regarding confidential designations without court involvement. Any motion regarding confidential
13   designations or for a protective order must include a certification, in the motion or in a declaration
14   or affidavit, that the movant has engaged in a good faith meet and confer conference with other
15   affected parties in an effort to resolve the dispute without court action. The certification must list
16   the date, manner, and participants to the conference. A good faith effort to confer requires a face-
17   to-face meeting or a telephone conference.
18           6.3      Judicial Intervention. If the parties cannot resolve a challenge without court
19   intervention, the designating party may file and serve a motion to retain confidentiality under Local
20   Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of persuasion

21   in any such motion shall be on the designating party. Frivolous challenges, and those made for

22   an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on other

23   parties) may expose the challenging party to sanctions. All parties shall continue to maintain the

24   material in question as confidential until the court rules on the challenge.

25   7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 6                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 7 of 11




 1           LITIGATION

 2           If a party is served with a subpoena or a court order issued in other litigation that compels

 3   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party

 4   must:

 5                    (a)     promptly notify the designating party in writing and include a copy of the

     subpoena or court order;
 6
                      (b)     promptly notify in writing the party who caused the subpoena or order to
 7
     issue in the other litigation that some or all of the material covered by the subpoena or order is
 8
     subject to this agreement. Such notification shall include a copy of this agreement; and
 9
                      (c)     cooperate with respect to all reasonable procedures sought to be pursued
10
     by the designating party whose confidential material may be affected.
11
     8.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
12
             If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
13
     material to any person or in any circumstance not authorized under this agreement, the receiving
14
     party must immediately (a) notify in writing the designating party of the unauthorized disclosures,
15
     (b) use its best efforts to retrieve all unauthorized copies of the protected material, (c) inform the
16
     person or persons to whom unauthorized disclosures were made of all the terms of this
17
     agreement, and (d) request that such person or persons execute the “Acknowledgment and
18
     Agreement to Be Bound” that is attached hereto as Exhibit A.
19

20   9.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
             MATERIAL
21           When a producing party gives notice to receiving parties that certain inadvertently
22   produced material is subject to a claim of privilege or other protection, the obligations of the
23   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
24   is not intended to modify whatever procedure may be established in an e-discovery order or
25   agreement that provides for production without prior privilege review. The parties agree to the


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 7                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 8 of 11




 1
     entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
 2
     10.     NON TERMINATION AND RETURN OF DOCUMENTS
 3
             Within 60 days after the termination of this action, including all appeals, each receiving
 4
     party must return all confidential material to the producing party, including all copies, extracts and
 5
     summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.
 6
             Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 7   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
 8   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
 9   work product, even if such materials contain confidential material.
10           The confidentiality obligations imposed by this agreement shall remain in effect until a
11   designating party agrees otherwise in writing or a court orders otherwise.
12           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
13
     DATED: November 15, 2021                                 s/ Daniel Rankin
14
                                                              Eric P. Gillett, WSBA #23691
15                                                            Daniel Rankin, WSBA #49673
                                                              Attorneys for Defendant Sensio Inc.
16                                                            d/b/a Bella

17
     DATED: November 15, 2021                                 s/ Maria S. Diamond
18                                                            Maria S. Diamond, WSBA #13472
                                                              Attorney for Plaintiff Lisa Doyle
19

20   DATED: November 15, 2021                                 s/ Adam J. Kress
                                                              Adam J. Kress, MN Bar #0397289
21                                                            Kenneth W. Pearson, MN Bar #0258696
                                                              Attorneys for Plaintiff Lisa Doyle
22

23

24

25


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 8                                                             901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by            SEATTLE, WASHINGTON 98164-2026
      parties                                                  TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
               Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 9 of 11




 1   PURSUANT TO STIPULATION, IT IS SO ORDERED

 2           IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any

 3   documents in this proceeding shall not, for the purposes of this proceeding or any other federal

 4   or state proceeding, constitute a waiver by the producing party of any privilege applicable to those

 5   documents, including the attorney-client privilege, attorney work-product protection, or any other
 6   privilege or protection recognized by law.
 7           DATED this 17th day of November, 2021.
 8

 9

10                                                       A
                                                         Honorable Barbara J. Rothstein
11
                                                         United States District Court Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25


      [REVISED] MODEL STIPULATED PROTECTIVE                    PREG O'DONNELL & GILLETT PLLC
      ORDER - 9                                                                901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by               SEATTLE, WASHINGTON 98164-2026
      parties                                                     TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
              Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 10 of 11




 1
                                                       EXHIBIT A
 2
                          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
             I,   ____________________________________                     [print     or     type      full    name],      of
 4
     ____________________________________ [print or type full address], declare under penalty of
 5
     perjury that I have read in its entirety and understand the Stipulated Protective Order that was
 6
     issued by the United States District Court for the Western District of Washington on [date] in the
 7   case of Lisa Doyle v. Sensio, Inc. d/b/a Bella, a foreign corporation, Case No. 2:21-cv-00664-
 8   BJR. I agree to comply with and to be bound by all the terms of this Stipulated Protective Order
 9   and I understand and acknowledge that failure to so comply could expose me to sanctions and
10   punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner
11   any information or item that is subject to this Stipulated Protective Order to any person or entity
12   except in strict compliance with the provisions of this Order.
13           I further agree to submit to the jurisdiction of the United States District Court for the
14   Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
15   Order, even if such enforcement proceedings occur after termination of this action.
16   Date:
17   City and State where sworn and signed:
18   Printed name:
19   Signature:
20

21

22

23

24

25


      [REVISED] MODEL STIPULATED PROTECTIVE                   PREG O'DONNELL & GILLETT PLLC
      ORDER - 10                                                                901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by                SEATTLE, WASHINGTON 98164-2026
      parties                                                      TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
              Case 2:21-cv-00664-BJR Document 18 Filed 11/17/21 Page 11 of 11




 1                                         DECLARATION OF SERVICE

 2           I hereby declare that on this day I electronically filed the foregoing document with the Clerk

 3   of the Court using the CM/ECF system, which will send notification of such filing to the attorneys

 4   of record listed below:

 5   Counsel for Plaintiff Lisa Doyle:                            Counsel for Plaintiff Lisa Doyle:
     Maria S. Diamond, Esq. WSBA #13472                           Adam J. Kress, Esq. MN Bar #0397289
 6   Diamond Massong, PLLC                                        Kenneth W. Pearson, Esq. MN Bar
     maria@diamondmassong.com                                     #0258696
 7                                                                Johnson Becker, PLLC
                                                                  akress@johnsonbecker.com
 8

 9           DATED at Seattle, Washington, this 15th day of November, 2021.

10
                                                               /s/ Daniel Rankin
11                                                            Daniel Rankin, WSBA #49673
12

13

14

15

16

17

18

19

20

21

22

23

24

25


      [REVISED] MODEL STIPULATED PROTECTIVE                       PREG O'DONNELL & GILLETT PLLC
      ORDER - 11                                                                 901 FIFTH AVE., SUITE 3400
      10034-0235 Doyle Stipulated Protective Order filed by                 SEATTLE, WASHINGTON 98164-2026
      parties                                                       TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
      Case No. 2:21-cv-00664-BJR
